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   7                              UNITED STATES DISTRICT COURT
   8                           SOUTHERN DISTRICT OF CALIFORNIA
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  10 JAMES GROOMS, an individual;                     Case No. 09CV0489 IEG POR
     BRYCEMARIE PHELAN, an individual;
  11
     KNUKLE, INC., a Colorado corporation,
  12
                Plaintiffs,
                                                      ORDER ON PLAINTIFFS’ EX PARTE
  13 vs.
                                                      APPLICATION FOR ORDER TO SHOW
                                                      CAUSE RE: CONTEMPT, SANCTIONS,
  14 JOHN LEGGE, an individual; GWEN                  AND ATTORNEYS’ FEES FOR
     LEGGE, an individual; KNUKLE, INC., a            VIOLATION OF TEMPORARY
  15 California corporation; ARTILLERY                RESTRAINING ORDER
     DISTRIBUTION, a business entity, form
  16
     unknown; SEAN MYERS, an individual;
  17 DEVIN MERCADO, an individual; and
     DOES 1 through 50, inclusive,
  18
                    Defendants.
  19
     TO DEFENDANTS:              JOHN LEGGE, an individual;
  20                             GWEN LEGGE, an individual; and
                                 KNUKLE, INC., a California corporation (“Knukle Two”).
  21

  22         YOU (AND EACH OF YOU) ARE HEREBY ORDERED TO SHOW CAUSE at 10:30
  23 A.M. on April 7, 2009, or as soon thereafter as counsel may be heard in the courtroom of

  24 Honorable Judge Irma E. Gonzalez, located at 940 Front Street, San Diego, CA 92101 why you,

  25 your representatives, servants and agents, employees, officers, directors, partners, attorneys,

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                                                   Page 1
  28   ORDER ON PLAINTIFFS’ EX PARTE APPLICATION FOR OSC RE: CONTEMPT, SANCTIONS, AND ATTORNEYS’ FEES
                               FOR VIOLATION OF TEMPORARY RESTRAINING ORDER
                                                                              CASE NO. 09CV0489 IEG POR
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   1 subsidiaries, and all other persons or entities under your control, or acting in concert or participation

   2 with you or them, should not be:

   3              1. Held in civil contempt for violating this Court’s Temporary Restraining Order
   4                  issued on March 17, 2009 (“TRO”);
   5              2. Ordered to pay to Plaintiffs civil contempt sanctions of $1000 per day for violating
   6                  this Court’s TRO, beginning on the day after Answering Defendants were first
   7                  served with notice of Plaintiffs’ posting of an undertaking, March 29, 2009, and
   8                  extending until this Court hears the instant application or the date Answering
   9
                      Defendants fully comply with the TRO;
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                  3. Ordered to pay to Plaintiffs’ attorneys’ fees and costs of $5281.00 associated with
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                      making their application to enforce a specific and direct Order of this Court.
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              This Order to Show Cause and supporting papers must be served on Defendants no later
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       than March 27, 2009, and proof of service shall be filed no later than March 30, 2009. Any
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       response or opposition to this Order to Show Cause must be filed and personally served on
  15
       Plaintiffs’ counsel no later than April 1, 2009.
  16
       DATED: March 27, 2009
  17

  18                                                 IRMA E. GONZALEZ, Chief Judge
                                                     United States District Court
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                                                          Page 2
  28   ORDER ON PLAINTIFFS’ EX PARTE APPLICATION FOR OSC RE: CONTEMPT, SANCTIONS, AND ATTORNEYS’ FEES
                               FOR VIOLATION OF TEMPORARY RESTRAINING ORDER
                                                                              CASE NO. 09CV0489 IEG POR
